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                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 ELIZABETH B. BONSU​,

       Plaintiff,                                CIVIL ACTION FILE NO.

 V.

 ISENSIX, INC.,                                  JURY TRIAL DEMANDED

       Defendant.


                                  COMPLAINT

      COMES NOW Plaintiff, Elizabeth B. Bonsu, by and through undersigned

counsel, The Kirby G. Smith Law Firm, LLC, and hereby files this Complaint, and

states as follows:

                       I. JURISDICTION AND VENUE

1.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 over

Counts I and II of this Complaint, which arise out of Title VII of the Civil Rights

Act of 1964, 42 U.S.C. § 2000 et seq. (“Title VII”).

2.    This Court has personal jurisdiction over the parties because a substantial

portion of the employment practices described herein took place based in Gwinnett
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County, Georgia.

3.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

4.    Plaintiff exhausted all administrative remedies in this matter. ​Dismissal and

Notice of Rights​, Ex. 1.

                                  II. PARTIES

5.    Plaintiff is a citizen of the United States and a resident of Gwinnett County,

Georgia.

6.    Defendant is a Foreign Profit Corporation based in Delaware and operating

in both Waukesha County, Wisconsin, and Gwinnett County, Georgia.

7.    This Court has jurisdiction over the parties because a substantial portion of

the employment practices described herein were committed within the Atlanta

Division of the Northern District of Georgia.

8.    Defendant may be served by delivering a copy of the Complaint and

Summons to their registered agent: Paracorp Incorporated, 2140 S. Dupont

Highway, Camden, Delaware, 19934.

9.    Defendant is subject to the requirements of the laws enumerated in the

Jurisdiction and Venue section of this Complaint.
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                          III. FACTUAL ALLEGATIONS

10.Plaintiff is female.

11.Defendant is a wireless temperature monitoring company for healthcare

   facilities.

12.On or about September 14, 2017, Plaintiff interviewed for the position of Field

   Service Technician with Defendant President, Mr. Tom Stawicki.

13.During Plaintiff’s interview, Mr. Stawicki stated to Plaintiff that the physical

   requirements of the job would prevent a pregnant woman from doing the job.

14.Mr. Stawicki stated to Plaintiff that he would not hire Plaintiff unless she

   confirmed that she was not planning to get pregnant.

15.Plaintiff responded that she did not intend to become pregnant again.

16.On or about October 9, 2017, Plaintiff accepted Defendant’s offer of

   employment as Field Service Technician on a temporary basis.

17.At all times relevant to this Complaint, Plaintiff was employed by Defendant as

   a Field Service Technician.

18.At all times relevant to this Complaint, Plaintiff’s direct supervisor was Mr.

   Matthew Downes, Field Operations Manager.

19.At all times relevant to this Complaint, Plaintiff was the only female Field
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   Service Technician.

20.At all times relevant to this Complaint, Plaintiff was the only female employee

   reporting to Mr. Downes.

21.At all times relevant to this Complaint, Plaintiff was based in her home office in

   Snellville, Georgia, and traveled for work assignments.

22.On or about October 9, 2017, while discussing job expectations, Mr. Stawicki

   stated to Plaintiff, “Sometimes some men are inappropriate, but ignore it and do

   your job and you might be able to prove me wrong, that a female can actually

   do this job. We will see.”

23.On or about April 16, 2018, Plaintiff became a permanent employee for

   Defendant.

24.Throughout Plaintiff’s employment, Mr. Downes consistently individually

   allocated Plaintiff job assignments requiring multiple employees for timely

   completion.

25.Male Field Service Technicians were not similarly individually assigned the job

   responsibilities of multiple employees for timely completion.

26.In or around December 6, 2018, Mr. Downes allocated Plaintiff a job

   assignment requiring three (3) employees for timely completion.
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27.Despite the need for multiple employees, Mr. Downes did not assign any other

   Field Service Technician to the assignment and did not supervise Plaintiff.

28.Mr. Downes stated he did not assign another employee to assist so Plaintiff

   could prove she could “work as hard” as male employees.

29.Male Field Service Technicians were not similarly subjected to comments

   regarding their gender or abilities.

30.During that assignment, Plaintiff suffered a workplace injury to her hand, which

   she reported to Mr. Downes.

31.Mr. Downes rejected Plaintiff’s request for time off the next day due to the

   injury.

32.Male Field Service Technicians were not similarly rejected time off for

   workplace injuries by Mr. Downes.

33.While discussing the incident with Plaintiff and Mr. Stawicki, Mr. Downes

   stated that Plaintiff was “screaming like a bitch” when she was injured.

34.On or about the evening of January 17, 2019, Plaintiff requested a restroom stop

   with Mr. Downes on a work trip with two other employees.

35.Mr. Downes stopped at a building and told Plaintiff to urinate by the building

   “like a man.”
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36.On or around April 8, 2019, after undergoing an unrelated surgery for fibroid

   lumps, Plaintiff was denied extended leave despite providing medical

   documentation.

37.Male Field Service Technicians were not similarly denied time off for medical

   purposes despite following the same procedure.

38.On or about August 12, 2019, Plaintiff scheduled a hand surgery related to her

   December 2018 injury.

39.Plaintiff was denied extended leave despite providing medical documentation.

40.Male Field Service Technicians were not similarly denied leave for workplace

   injuries by Mr. Downes.

41.On or about November 5, 2019, Plaintiff complained to Mr. Downes via

   telephone about instances of gender discrimination.

42.Specifically, Plaintiff stated that she was consistently, individually assigned job

   duties that required multiple Technicians for timely completion while the same

   requests were not made of male employees.

43.Plaintiff further stated that she felt that she was being discriminated against

   based on her gender due to Mr. Downes’ and Mr. Stawicki’s comments,

   assignments, and actions.
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44.On November 8, 2019, Plaintiff reiterated her complaints of gender

   discrimination via email to Mr. Downes and copied Mr. Stawicki.

45.On or about November 12, 2019, Plaintiff discovered that two (2) assignments

   had been deleted from her work calendar without explanation.

46.Upon information and belief, Mr. Stawicki directed the assignments be deleted

   from Plaintiff’s calendar.

47.Plaintiff’s pay was reduced based on the deleted job assignments.

48.Plaintiff’s request for Paid Time Off (“PTO”) Hours for the removal of job

   assignments was also denied by Defendant.

49.Male Field Service Technicians were not similarly subjected to reduced pay or

   denied PTO when removed from assignments at the direction of a supervisor.

50.On or about November 13, 2019, Plaintiff informed Mr. Stawicki and Mr.

   Downes that flight information for a job needed to be changed, because her

   identification with the appropriate corresponding name had been stolen.

51.Plaintiff was instructed not to attend that job assignment.

52.Plaintiff’s pay was again reduced based on the removed job assignment.

53.Plaintiff’s request for PTO Hours for this job assignment removal was denied

   by Defendant.
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54.Male Field Service Technicians were not similarly subjected to reduced pay or

   denied PTO when removed from assignments at the direction of a supervisor.

55.On December 3, 2019, when Plaintiff inquired about her reduced pay, Mr.

   Stawicki informed Plaintiff of four alleged customer sites requesting Plaintiff be

   replaced.

56.Plaintiff was not made aware of the customer complaints when they allegedly

   occurred prior to the December 3, 2019 email from Mr. Stawicki.

57.Plaintiff was not provided with an opportunity to respond to the alleged

   complaints when they occurred, as she had previously been afforded by

   Defendant before making protected complaints.

58.On December 5, 2019, Plaintiff indicated she would be seeking “an expert on

   discrimination and retaliation” concerning her gender-based claims against Mr.

   Downes and Mr. Stawicki.

59.On December 5, 2019, Plaintiff was terminated by email by Mr. Stawicki for

   alleged performance concerns.

60.Plaintiff filed a claim with the EEOC in or around March 2020.

61.Plaintiff received her Notice of Right to Sue, dated December 22, 2020.
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                             IV. ​CLAIMS FOR RELIEF

             COUNT I: TITLE VII DISCRIMINATION (GENDER)

62.Plaintiff incorporates by reference paragraphs 1-61 of her Complaint as if fully

   set forth herein.

63.Plaintiff is a member of a protected class by virtue of gender. ​Para.​ ​ 10.

64.Plaintiff was qualified for the position at issue. ​Paras.​ ​ 12, 16, 23.

65.The requirement that Plaintiff not become pregnant in order to be hired

   demonstrates discriminatory animus. ​Para.​ ​14.

66.The individual assignment of job duties requiring multiple employees for timely

   completion to only Plaintiff demonstrates discriminatory animus. ​Paras. 24,

   26-28.

67.Plaintiff was subjected to frequent comments about her gender. ​Paras. 22, 28,

   33, 35.

68.Plaintiff suffered the adverse action of reduced pay. ​Paras​. ​45-48, 52-53.

69.Plaintiff suffered the adverse action of termination. ​Para.​ ​59.

70.Plaintiff is aware of similarly-situated employees outside Plaintiff’s protected

   class who were treated differently than Plaintiff. ​Paras. 25, 29, 32, 37, 40, 49,
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   54.

71.Defendant’s termination of Plaintiff is pretextual. ​Paras.​ ​ 55-57.

                       COUNT II: TITLE VII RETALIATION

72.Plaintiff incorporates by reference paragraphs 1-71 of her Complaint as if fully

   set forth herein.

73.Plaintiff’s November 2019 reports of gender discrimination to Mr. Downes

   concerning gender discrimination constitutes a protected activity under Title

   VII. ​Paras. 41-44.​

74.Defendant had knowledge of Plaintiff’s participation. ​Paras. 41-44.

75.Defendant's removal of Plaintiff's job assignments and related reduction in pay

   constitutes an adverse action under Title VII. ​Paras. 45-48, 51-53.

76.Plaintiff's December 5, 2019 termination constitutes an adverse action under

   Title VII. ​Para​. ​59.​

77.The temporal proximity between Plaintiff’s protected activities and the adverse

   actions is circumstantial evidence of causation. ​Paras. 51-59.
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                                 PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays that this Honorable Court grant the following

relief:

             a. Trial by jury;

             b. Declaratory relief;

             c. Actual and compensatory damages in an amount to be determined by

                the enlightened conscience of a jury;

             d. Punitive damages; and

             e. Attorney’s fees, costs of litigation and any other relief the Court

                deems just and proper.

          Respectfully submitted this 22nd of March, 2021.

                                         THE KIRBY G. SMITH LAW FIRM, LLC

                                         s/Rachel B. Canfield
                                         Rachel B. Canfield
                                         Georgia Bar No. 488716
                                         Kirby G. Smith
                                         Georgia Bar No. 250119
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                              JURY DEMAND

     Plaintiff requests a jury trial on all questions of fact raised by this

Complaint.



     Respectfully submitted this 22nd of March, 2021.

                                    THE KIRBY G. SMITH LAW FIRM, LLC

                                    s/Rachel B. Canfield
                                    Rachel B. Canfield
                                    Georgia Bar No. 488716
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                    FONT AND POINT CERTIFICATION

      The Undersigned counsel for Plaintiff certifies that the within and foregoing

COMPLAINT was prepared using Times New Roman, 14-point font in accordance

with LR 5.1(B).



      Respectfully submitted this 22nd of March, 2021.

                                      THE KIRBY G. SMITH LAW FIRM, LLC

                                      s/Rachel B. Canfield
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                                      Georgia Bar No. 488716
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